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        Attorneys for Plaintiff


                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF OREGON

ANNAMARIE MOTIS,                               )    Case No. 3:19-CV-02000-BR
                                               )
               Plaintiff,                      )    FIRST AMENDED COMPLAINT FOR
       vs.                                     )    DAMAGES
                                               )    Battery
DAVID JUBB,                                    )
               Defendant.                      )
                                               )    JURY TRIAL DEMAND
                                               )
                                               )    PRAYER: $1,250,000.00 or an amount to be
                                               )    proven at trial.
                                               )
                                               )

                      COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, AnnaMarie Motis ("Motis" or “plaintiff”), by and through her attorneys, Erin

Greenawald and Sean J. Riddell, herein state and allege as follows:

                                           PARTIES

                                               1.

       Defendant David Jubb, (“Jubb” or “defendant”) is and at all times mentioned herein is a

resident of Vancouver, Washington and was a member of Linfield College’s Board of Trustees.

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                                                  2.

        AnnaMarie Motis is an adult female, resident of Alaska, an undergraduate student at

Linfield College, and was the student’s representative to Linfield College’s Board of Trustees in

2018-2019.

                                  JURISDICTION AND VENUE

                                                  3.

        This court has subject matter jurisdiction over this case pursuant to 28 U.S.C. § 1332,

which gives district courts original jurisdiction of all civil actions where the matter in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs and is between

citizens of different states.

                                                  4.

        Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2), the events giving rise

to the claims occurred in this district.

                                               FACTS

                                                  5.

        On or about February 15, 2019, Ms. Motis and defendant attended a meeting of the Board

of Trustees at Walker Hall and later a Faculty-Trustee Dinner at the Michelbook Country Club.

Ms. Motis and defendant sat at the same table with other trustees: Lucinda Day Fournier, Mindy

Legard Larson and David Baca. At the end of the dinner, trustees other than Ms. Motis decided

to continue the evening at Nick’s Backroom in McMinnville and invited Ms. Motis to attend.

                                                  6.

        While other members of the party drove to Nick’s Backroom, defendant insisted that Ms.

Motis accompany him in an ‘Uber’ ride to the restaurant. Defendant provided Ms. Motis with

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$40 cash and asked Ms. Motis to use the Uber application on her phone to order a ride. While

waiting for the Uber driver defendant stated to Ms. Motis, “So, we will go to Nick’s and see

everybody and then I’m staying at the Atticus so I’ll bring you over and end the night there.

Super easy. I love the Atticus. What a great place.” The Atticus is a luxury hotel located in

downtown McMinnville, Oregon.

                                                7.

       Ms. Motis and defendant waited for the Uber ride in the foyer of Michelbook Country

Club. While they waited, defendant invaded Ms. Motis’ personal space, grabbed Ms. Motis and

pulled Ms. Motis’ body to his body. Ms. Motis stepped back and politely told defendant, “I feel

like that’s a little close.” Defendant was undeterred, he pulled Ms. Motis close to him again,

moved his hand into Ms. Motis’ skirt, and aggressively grabbed Ms. Motis’ buttocks.

Defendant’s bare hand touched Ms. Motis’ bare buttocks. Ms. Motis again stepped away and

stated “that’s definitely not something I’m comfortable with.” Defendant left the foyer stating he

was going to “go find more wine.”

                                                8.

       Another member of the Board of Trustees, Jennifer Williams, then entered the foyer.

Mrs. Williams asked Ms. Motis if she “was okay” and offered to provide Ms. Motis and

defendant with transportation to Nick’s Backroom. Ms. Motis accepted the offer. Ms. Motis,

defendant, Mrs. Williams and Mr. Erika Marksbury traveled to Nick’s Backroom. Mrs.

Marksbury drove.

                                                9.

       When Ms. Motis and defendant arrived in the area of 3rd street in downtown McMinnville

they were greeted by Mr. Baca. Mr. Baca informed them that Nick’s Backroom was closed and

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the group was headed to The Oak, another bar in downtown McMinnville. Ms. Motis,

defendant, Lucinda Fournier, Mark Patterson and Mr. Baca sat at very narrow table at The Oak.

Ms. Motis sat opposite of Mr. Judd. Mr. Judd aggressively bumped Ms. Motis’ legs under the

table. Ms. Motis moved her chair to be even further away from Mr. Judd, however Mr. Judd

reached over with his foot and pulled Ms. Motis’ chair closer to him. Defendant then thrust his

hand under defendant’s dress and thrust his fingers into defendant’s crotch. Defendant’s fingers

were able to touch Ms. Motis’ genitalia.

                                                10.

         Ms. Motis immediately removed herself from the table and told the group she need to

leave.

                                                11.

         Ms. Motis reported Mr. Judd’s sexual assault to the McMinnville Police Department,

cooperated in the criminal investigation and continues to cooperate in the criminal investigation.

                                                12.

         Ms. Motis reserves the right to amend the complaint to include punitive damages against

 defendant Mr. Jubb pursuant to ORS 31.725 – 31.730

                                 FIRST CLAIM FOR RELIEF
                                        BATTERY

                                                13.

         Ms. Motis re-alleges paragraphs 1 through 11.

                                                14.

         On or about February 15, 2019, Ms. Motis did not consent to Mr. Jubb’s physical

contacts.


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                                                 15.

       As a result of defendant’s abuse, Ms. Motis suffered economic damages of approximately

$100,000; medical/counseling expenses of approximately $50,000, and future medical expenses

of $100,000, the actual amounts to be proven at trial.

                                                 16.

       As a direct and proximate result of Defendant’s breach of duty Ms. Motis sustained

physical injuries, a long period of recovery, and mental anguish.

                                                 17.

       As a further result of defendant’s assault, Ms. Motis suffered non-economic losses,

including, but not limited to, emotional injury and mental anguish, trauma, an inability to form

close relationships, nightmares and sleep disruption, mistrust in the intentions of others, lack of

self-esteem, depression, and anxiety. Ms. Motis prays for non-economic damages arising from

the acts alleged in this claim in the amount of $1,000,000.00.

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                                       PRAYER
WHEREFORE, Ms. Motis prays for relief as follows:

                       FIRST CLAIM FOR RELIEF- BATTERY

       1. Economic damages in the amount of $250,000.00;

       2. Non-economic damages in the amount of $1,000,000.00; and

       3. Costs.


      DATED this 10th day of February 2020.
                                                    By: /s/Erin Greenawald
                                                    Erin Greenawald, OSB No. 990542


                                                    By:/s/ Sean J. Riddell
                                                    Sean J. Riddell, OSB No. 013943
                                                       Attorneys for Plaintiff


PLAINTIFF REQUESTS A JURY TRIAL




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                             CERTIFICATE OF SERVICE

       I hereby certify that on February 10, 2020, I served Plaintiff’s First Amended Complaint
on counsel for Defendant Jubb at the following addresses:

Hart Wagner LLP
Attn: Gordon Wellborn
439 SW Umatilla Ave
Redmond, OR 97756
Email: GLW@hartwagner.com
       Attorney for the Defendant Jubb

by the following method or methods as indicated:
       by CM/ECY
       by electronic mail




                                            /S/ SEAN J. RIDDELL_
                                            SEAN J. RIDDELL, OSB #013943
                                            Attorney for Plaintiff




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